               IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


MARCUS ANTONIO SATTERFIELD,       )
                                  )
               Petitioner,        )
                                  )
     v.                           )         1:25-cv-337
                                  )
WARDEN RONNIE SPEARMAN, and       )
STATE OF NORTH CAROLINA,          )
                                  )
               Respondent.        )

                                ORDER

     The matter is before this court for review of the Order and

Recommendation (“Recommendation”) filed on May 6, 2025, by the

United States Magistrate Judge in accordance with 28 U.S.C. §

636(b). (Doc. 2.) In the Recommendation, the Magistrate Judge

recommends that the Petition should be filed and then dismissed,

without prejudice to Petitioner filing a new petition on the

proper habeas corpus forms with the $5.00 filing fee, or a

completed application to proceed in forma pauperis. The

Recommendation was served on Petitioner in this action on May 6,

2025. (Doc. 3.) Petitioner timely filed objections, (Doc. 4), to

the Recommendation. In addition, Petitioner filed an application

to proceed in forma pauperis. (Doc. 5.) Although Petitioner

filed an application to proceed in forma pauperis, correcting

one of the deficiencies, Petitioner did not respond to the




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Magistrate Judge’s findings that Petitioner has not exhausted

his state court remedies.

     This court is required to “make a de novo determination of

those portions of the [Magistrate Judge’s] report or specified

proposed findings or recommendations to which objection is

made.” 28 U.S.C. § 636(b)(1). This court “may accept, reject, or

modify, in whole or in part, the findings or recommendations

made by the [M]agistrate [J]udge. . . . [O]r recommit the matter

to the [M]agistrate [J]udge with instructions.” Id.

     This court has appropriately reviewed the portions of the

Recommendation to which the objections were made and has made a

de novo determination which is in accord with the Magistrate

Judge’s Recommendation.1 This court therefore adopts the

Recommendation.

     IT IS THEREFORE ORDERED that the Magistrate Judge’s

Recommendation, (Doc. 2), is ADOPTED. IT IS FURTHER ORDERED that

this action is DISMISSED WITHOUT PREJUDICE to Petitioner filing

a new petition which corrects the defects of the current

Petition. The court further finds there is no substantial

showing of the denial of a constitutional right affecting the



     1 Petitioner’s pleadings as to his various petitions and
appeals are confusingly described. If Petitioner has exhausted
his state court remedies or they are exhausted in the future,
Petitioner needs to clearly state that fact.
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conviction nor a debatable procedural ruling, therefore a

certificate of appealability is not issued.

     IT IS FURTHER ORDERED that Petitioner’s Application to

Proceed In Forma Pauperis, (Doc. 5), is DENIED as MOOT.

     A Judgment dismissing this action will be filed

contemporaneously with this Order.

     This the 20th day of May, 2025.



                                __________________________________
                                   United States District Judge




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